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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

STEPHEN R. MACINTYRE and
SCOTT E. SULLIVAN,

                                    Plaintiffs,
                                                            Civ. No.: 15-cv-6660W
v.

JACK W. MOORE and
TOWN OF HENRIETTA (Public Agency),

                                    Defendants.


                              STIPULATION OF DISMISSAL


       IT IS HEREBY STIPULATED AND AGREED between Stephen R. MacIntyre and

Scott E. Sullivan, pro se Plaintiffs, and Defendants, Jack W. Moore and Town of

Henrietta, by their counsel Heather L. Dechert, Esq., that whereas no party hereto is an

infant or incompetent person for whom a committee has been appointed and no person

not a party has an interest in the subject matter of this action, that all claims and causes

of action in the above-captioned action are voluntarily dismissed on the merits, with

prejudice, and without costs or attorneys' fees to either party as against the other. This

Stipulation may be filed without further notice with the Clerk of the Court



DATED:        February 22, 2019

 Pro Se Plaintiff


By:    s/Stephen R. MacIntyre
       Stephen R. MacIntyre
43 Ivory Way
Henrietta, NY 14467
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DATED:        February 22, 2019

 Pro Se Plaintiff


By:    s/Scott E. Sullivan
       Scott E. Sullivan
37 Gilbert Street
Rushville, NY 14544




DATED:        March 11, 2019

WEBSTER SZANYI LLP
 Attorneys for Defendants


By:    s/Heather L. Dechert
       Heather L. Dechert
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